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                              UNITED STATES DISTRICT COURT
                                 DISTRICT OF MINNESOTA


Blu Dot Design & Manufacturing, Inc.,            Court File No. 16-CV-03378-SRN-SER

                 Plaintiff,
       v.                                           NOTI CE OF VOL UNTARY
                                               DI SM I SSAL WI THOUT PREJUDI CE
Gold Leaf Holding Ltd.,
D/B/A Rove Concepts,
A Canadian corporation,

                 Defendant.



       Plaintiff Blu Dot Design & Manufacturing, Inc. hereby dismisses this action

without prejudice pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i).



Dated: October 20, 2016                    s/ Lora M. Friedemann
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